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                               IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OKLAHOMA


  1) VIDEO GAMING TECHNOLOGIES, INC.,                       )
                                                            )
                                                            )
                    Plaintiff,                              )
                                                            )
  v.                                                        )   Case No. 4:17-cv-00454-GKF-jfj
                                                            )
  1) CASTLE HILL STUDIOS LLC                                )
     (d/b/a CASTLE HILL GAMING);                            )
  2) CASTLE HILL HOLDING LLC                                )
     (d/b/a CASTLE HILL GAMING); and                        )
  3) IRONWORKS DEVELOPMENT, LLC                             )
     (d/b/a CASTLE HILL GAMING)                             )
                                                            )
                    Defendants.                             )

                                PLAINTIFF’S MOTION TO SEAL
                       MOTION FOR LEAVE TO FILE AMENDED COMPLAINT
                               AND SUPPORTING DECLARATION

              Pursuant to Local Rule 79.1, General Order In Re The Use of Confidential Information In

       Civil Cases (“GO 08-11”), and paragraph 2(f) of the Stipulated Protective Order (Dkt. 55), Plaintiff

       Video Gaming Technologies, Inc. (“VGT”), hereby requests that the Court enter an order to seal

       Plaintiff’s unredacted Motion for Leave to File Amended Complaint (“the Motion for Leave”)

       (Dkt. 73) and Exhibits A, C, D, E, F, G, H, I, J, K, L, M, N, O, P and Q to the Declaration of

       Michael S. Sawyer in Support of Plaintiff’s Motion for Leave to File Amended Complaint (“the

       Sawyer Declaration”) (Dkt. 74). In support of this motion, Plaintiff states the following:

              1.      Portions of the Motion for Leave contain both Plaintiff’s and Defendants’ sensitive

       and/or proprietary trade secret information, which, pursuant to paragraph 2(c) of the Stipulated

       Protective Order (Dkt. 55), should be treated as Highly Confidential Information.




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          2.      Exhibit A to the Sawyer Declaration consists of email correspondence between

   counsel for VGT and counsel for Castle Hill Gaming (“CHG”) dated between April 9, 2018 and

   May 18, 2018. This correspondence contains sensitive and proprietary trade secret information,

   which, pursuant to paragraph 2(c) of the Stipulated Protective Order (Dkt. 55), should be treated

   as Highly Confidential Information.

          3.      Exhibit C to the Sawyer Declaration consists of an excerpt from PLAINTIFF’S

   FIRST SUPPLEMENTAL OBJECTIONS AND RESPONSES TO DEFENDANT CASTLE

   HILL STUDIO LLC’S FIRST SET OF INTERROGATORIES (NOS. 1-13).                          Pursuant to

   paragraph 2(c) of the Stipulated Protective Order (Dkt. 55), VGT has designated portions of these

   responses as Highly Confidential Information because they contain proprietary trade secret

   information.

          4.      Exhibit D to the Sawyer Declaration consists of an excerpt from DEFENDANTS’

   SECOND SUPPLEMENTAL OBJECTIONS AND RESPONSES TO PLAINTIFF’S FIRST

   INTERROGATORIES TO DEFENDANTS.                    Pursuant to paragraph 2(c) of the Stipulated

   Protective Order (Dkt. 55), CHG has designated portions of these responses as Highly Confidential

   Information.

          5.      Exhibit E to the Sawyer Declaration is a document produced by CHG to VGT

   bearing Bates stamps CHG0089317-20. Pursuant to paragraph 2(c) of the Stipulated Protective

   Order (Dkt. 55), CHG has designated this document as Highly Confidential Information.

          6.      Exhibit F to the Sawyer Declaration is an excerpt of a document produced by VGT

   to CHG bearing Bates stamps VGT0001813-32. Pursuant to paragraph 2(c) of the Stipulated

   Protective Order (Dkt. 55), VGT has designated this document as Highly Confidential Information

   because it contains proprietary trade secret information.



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          7.      Exhibit G to the Sawyer Declaration is a letter sent by counsel for VGT to counsel

   for CHG dated April 11, 2018. This correspondence contains sensitive and proprietary trade secret

   information, which, pursuant to paragraph 2(c) of the Stipulated Protective Order (Dkt. 55), should

   be treated as Highly Confidential Information.

          8.      Exhibit H to the Sawyer Declaration is a document produced by CHG to VGT

   bearing Bates stamps CHG0089197-98. Pursuant to paragraph 2(c) of the Stipulated Protective

   Order (Dkt. 55), CHG has designated this document as Highly Confidential Information.

          9.      Exhibit I to the Sawyer Declaration consists of an excerpt from the deposition

   transcript of Andrew Scheiner that is referenced in the Motion for Leave. Pursuant to paragraph

   2(c) of the Stipulated Protective Order (Dkt. 55), counsel for Defendants may seek to designate

   portions of Mr. Scheiner’s deposition transcript as Confidential Information, Highly Confidential

   Information, or Highly Confidential Source Code Information within thirty (30) days of receipt of

   the deposition transcript or copy thereof. Until the expiration of this thirty-day period, the entire

   deposition transcript must be treated as Highly Confidential Source Code. In the event that

   Defendants do not designate the attached pages of Mr. Scheiner’s deposition transcript as

   confidential, VGT intends to file an unredacted version of Exhibit I to the Sawyer Declaration.

          10.     Exhibit J to the Sawyer Declaration consists of an excerpt from the rough deposition

   transcript of Alan Roireau that is referenced in the Motion for Leave. Pursuant to paragraph 2(c)

   of the Stipulated Protective Order (Dkt. 55), counsel for Defendants may seek to designate portions

   of Mr. Roireau’s deposition transcript as Confidential Information, Highly Confidential

   Information, or Highly Confidential Source Code Information within thirty (30) days of receipt of

   the deposition transcript or copy thereof. Until the expiration of this thirty-day period, the entire

   deposition transcript must be treated as Highly Confidential Source Code. In the event that



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   Defendants do not designate the attached pages of Mr. Roireau’s deposition transcript as

   confidential, VGT intends to file an unredacted version of Exhibit J to the Sawyer Declaration.

          11.     Exhibit K to the Sawyer Declaration is a letter sent by counsel for CHG to counsel

   for VGT dated April 3, 2018. This correspondence contains sensitive and proprietary trade secret

   information, which, pursuant to paragraph 2(c) of the Stipulated Protective Order (Dkt. 55), should

   be treated as Highly Confidential Information.

          12.     Exhibit L to the Sawyer Declaration is a letter sent by counsel for CHG to counsel

   for VGT dated April 9, 2018. This correspondence contains VGT’s sensitive and proprietary trade

   secret information, which, pursuant to paragraph 2(c) of the Stipulated Protective Order (Dkt. 55),

   should be treated as Highly Confidential Information.

          13.     Exhibit M to the Sawyer Declaration is a letter sent by counsel for CHG to counsel

   for VGT dated April 14, 2018. This correspondence contains sensitive and proprietary trade secret

   information, which, pursuant to paragraph 2(c) of the Stipulated Protective Order (Dkt. 55), should

   be treated as Highly Confidential Information.

          14.     Exhibit N to the Sawyer Declaration is a letter sent by counsel for VGT to counsel

   for CHG dated April 25, 2018. This correspondence contains sensitive and proprietary trade secret

   information, which, pursuant to paragraph 2(c) of the Stipulated Protective Order (Dkt. 55), should

   be treated as Highly Confidential Information.

          15.     Exhibit O to the Sawyer Declaration is a letter sent by counsel for VGT to counsel

   for CHG dated March 22, 2018. This correspondence contains sensitive and proprietary trade

   secret information, which, pursuant to paragraph 2(c) of the Stipulated Protective Order (Dkt. 55),

   should be treated as Highly Confidential Information.




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          16.     Exhibit P to the Sawyer Declaration is a document produced by CHG to VGT

   bearing Bates stamps CHG095379–90. Pursuant to paragraph 2(c) of the Stipulated Protective

   Order (Dkt. 55), CHG has designated this document as Highly Confidential Information.

          17.     Exhibit Q to the Sawyer Declaration is a letter sent by counsel for VGT to counsel

   for CHG dated April 5, 2018. This correspondence contains sensitive and proprietary trade secret

   information, which, pursuant to paragraph 2(c) of the Stipulated Protective Order (Dkt. 55), should

   be treated as Highly Confidential Information.

          18.     In accordance with Local Rule 79.1, GO 08-11, and the Stipulated Protective Order,

   Plaintiff has filed both a public, Redacted Motion for Leave to File Amended Complaint, see Dkt.

   71, and a sealed, unredacted Motion for Leave (Dkt. 73). Plaintiff has also filed both a public,

   Redacted Declaration of Michael S. Sawyer in Support of Plaintiff’s Motion for Leave to File

   Amended Complaint, see Dkt. 72, and a sealed, unredacted Sawyer Declaration (Dkt. 74).

          WHEREFORE, Plaintiff respectfully requests that the Court enter an Order granting

   sealing the Motion for Leave (Dkt. 73) and Exhibits A, C, D, E, F, G, H, I, J, K, L, M, N, O, P and

   Q to the Sawyer Declaration (Dkt. 74).




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         May 21, 2018                  Respectfully submitted,

                                       /s/ Gary Rubman
                                       Graydon Dean Luthey, Jr., OBA No. 5568
                                       GABLE GOTWALS
                                       1100 ONEOK Plaza
                                       100 West Fifth Street
                                       Tulsa, OK 74103-4217
                                       Telephone: (918) 595-4821
                                       Facsimile: (918) 595-4990
                                       dluthey@gablelaw.com

                                       Gary M. Rubman
                                       Peter A. Swanson
                                       Michael S. Sawyer
                                       Rebecca B. Dalton
                                       COVINGTON & BURLING LLP
                                       One CityCenter
                                       850 Tenth Street, NW
                                       Washington, D.C. 20001-4956
                                       Telephone: (202) 662-6000
                                       Facsimile: (202) 778-5465
                                       grubman@cov.com
                                       pswanson@cov.com
                                       msawyer@cov.com
                                       rdalton@cov.com
                                         (admitted pro hac vice)

                                       Neil K. Roman
                                       COVINGTON & BURLING LLP
                                       The New York Times Building
                                       620 Eighth Avenue
                                       New York, NY 10018-1405
                                       Telephone: (212) 841-1221
                                       Facsimile: (212) 841-1010
                                       nroman@cov.com
                                         (admitted pro hac vice)

                                       Counsel for Video Gaming Technologies, Inc.




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                                    CERTIFICATE OF SERVICE

           I hereby certify that on May 21, 2018, I filed the foregoing via CM/ECF, which caused
   the foregoing to be served on the following counsel for Defendants:

   Robert C. Gill
   Thomas S. Schaufelberger
   Matthew J. Antonelli
   Henry A. Platt
   SAUL EWING ARNSTEIN & LEHR, LLP
   1919 Pennsylvania Avenue, NW, Suite 550
   Washington, D.C. 20006
   (202) 295-6605
   (202) 295-6705 (facsimile)
   robert.gill@saul.com
   tschauf@saul.com
   matt.antonelli@saul.com
   henry.platt@saul.com

   Sherry H. Flax
   SAUL EWING ARNSTEIN & LEHR, LLP
   500 E. Pratt Street, Suite 900
   Baltimore, Maryland 21202
   (410) 332-8764
   (410) 332-8785 (facsimile)
   sherry.flax@saul.com

   James C. Hodges, OBA 4254
   JAMES C. HODGES, PC
   2622 East 21st Street, Suite 4
   Tulsa, OK 74114
   Telephone: (918) 779-7078
   JHodges@HodgesLC.Com

   Duane H. Zobrist
   Jonathan S. Jacobs
   ZOBRIST LAW GROUP PLLC
   1900 Arlington Blvd. Suite B
   Charlottesville, VA 22903
   Telephone: (434) 658-6400
   dzobrist@zoblaw.com
   jjacobs@zoblaw.com

   Attorneys for Defendants
                                                              /s/ Michael S. Sawyer




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